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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                     Case Number 4:13CB3003-003
                                                       Violation No. 1752826 and 1752978

EARL M. MUTUM
                       Defendant
                                                       Pro Se
                                                       Defendant’s Attorney
___________________________________

                                JUDGMENT IN A CRIMINAL CASE
                                       (For a Petty Offense)

THE DEFENDANT pleaded guilty to the allegation listed in CVB violation numbers 1752826 and
1752978 on 3/7/2013.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:
                                                           Date Offense               Count
          Title, Section & Nature of Offense                Concluded               Number(s)
            38 CFR 1.218(b)(6) and                          12/16/2012                  1

           38 CFR 1.218(b)(6)                                  12/12/2012                1
The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.


IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.


                                                                     Date of Imposition of Sentence:
                                                                                      March 7, 2013

                                                                                   s/ Cheryl R. Zwart
                                                                       United States Magistrate Judge

                                                                              March 11, 2013
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                               CRIMINAL MONETARY PENALTIES

      The defendant shall pay the following total criminal monetary penalties in
accordance with the schedule of payments set forth in this judgment.

    Special Assessment                           Total Fine            Total Processing Fee
  $10.00 on each violation             $50.00 on each violation       $25.00 on each violation

                                                    FINE

A Fine in the amount of $50.00 is imposed on each violation.

The interest requirement is waived as the court finds the defendant has no ability to pay
interest.

                                     SCHEDULE OF PAYMENTS

The defendant shall pay $30.00 monthly toward the amounts owed on the sentence imposed
herein beginning May 2, 2013, with any balance paid in full by no later than October 3, 2013.

If the defendant fails to comply with the payment schedule above, the United States of America may
institute civil collection proceedings to satisfy all or any portion of the amount remaining owed.

Any payments made shall be applied in the following order of priority: processing fee; collateral
damages; fine; and other penalties. Unless otherwise specifically ordered, interest shall not accrue
on the criminal monetary penalty and collateral damages imposed.

All financial penalty payments are to be made to the Central Violations Bureau, P.O. Box
71363, Philadelphia, PA 19176-1363.

The defendant shall receive credit for all payments previously made toward the imposed sentence.

The defendant shall inform the court of any change in his or her economic circumstances affecting
the ability to make monthly installments, or increase the monthly payment amount, as ordered by
the court.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the amounts owed
under the sentence imposed.

CLERK’S OFFICE USE ONLY:
ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
